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Jeff Carruth (TX SBN:. 24001846)                      Christopher M. Lee
WEYCER, KAPLAN, PULASKI & ZUBER, P.C.                 State Bar No. 24041319
3030 Matlock Rd., Suite 201                           LEE LAW FIRM, PLLC
Arlington, TX 76015                                   8701 Bedford Euless Rd, Ste 510
Telephone: (713) 341-1158                             Hurst, TX 76053
Fax: (866) 666-5322                                   469-646-8995 Phone
E-mail: jcarruth@wkpz.com                             469-694-1059 Fax

PROPOSED ATTORNEYS FOR
ANSON FINANCIAL INC.
DEBTOR AND DEBTOR IN POSSESSION

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

  IN RE:                                             §
                                                     §
  ANSON FINANCIAL, INC.,                             §                CASE NO. 21-41517
                                                     §
          DEBTOR.                                    §


                                           NOTICE OF HEARING

        Please take notice that a hearing has been set for March 7, 2022, at 1:30 p.m. (prevailing Central
Time), before the Honorable Edward L. Morris at the Eldon B. Mahon U.S. Courthouse, 501 W. Tenth
Street, Room 204, Fort Worth, Texas 76102 regarding the matters referenced and described below filed
by the above-captioned Debtor. The hearing will be in person and also be conducted by the Webex video
and audio facilities of the Court.
        Webex information is available at the following link.

https://www.txnb.uscourts.gov/sites/txnb/files/hearings/WebEx%20Hearing%20Instructions%20for%20J
udge%20Morris_1.pdf


   Filing Date                                            Docket Text

                  238 (17 pgs) Application to employ -- Motion to Employ Sullivan & Cook, LLC as Special
                 Counsel for Debtor in Adversary Proceeding No. 21-04071 as Attorney Filed by Debtor
02/09/2022       Anson Financial, Inc. (Carruth, Jeffery)




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Dated: February 21, 2022                     Respectfully submitted:

                                             WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                             By:       /s/ Jeff Carruth
                                                   JEFF CARRUTH (TX SBN:. 24001846)
                                                   3030 Matlock Rd., Suite 201
                                                   Arlington, Texas 76105
                                                   Telephone: (713) 341-1158
                                                   Fax: (866) 666-5322
                                                   E-mail: jcarruth@wkpz.com

                                             PROPOSED ATTORNEYS FOR
                                             ANSON FINANCIAL, INC.
                                             DEBTOR AND DEBTOR IN POSSESSION



                                CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy of the foregoing was served on
February 21, 2022 (1) by electronic notice to all ECF users who have appeared in this case to
date, and/or as set forth below and (2) by regular mail to all parties appearing in the attached
address list (i.e. mailing matrix) obtained from the Court’s PACER facility. A copy of the
service lists was not served with the regular mail service set but is available by contacting the
undersigned.

ANY PARTY REQUESTING A FULL SIZED COPY OF THIS PLEADING OR COPIES
OF ANY EXHIBITS SHOULD CONTACT THE UNDERSIGNED.

                                                         /s/ Jeff Carruth
                                                   JEFF CARRUTH




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                                                  ECF SERVICE LIST


21-41517-elm11 Notice will be electronically mailed to:

Jeffery D. Carruth on behalf of Debtor Anson Financial, Inc.
jcarruth@wkpz.com,
jcarruth@aol.com;atty_carruth@trustesolutions.com;carruthjr87698@notify.bestcase.com

Eboney D. Cobb on behalf of Creditor City of Colleyville
ecobb@pbfcm.com, ecobb@pbfcm.com;ecobb@ecf.inforuptcy.com

Eboney D. Cobb on behalf of Creditor Grapevine-Colleyville ISD
ecobb@pbfcm.com, ecobb@pbfcm.com;ecobb@ecf.inforuptcy.com

Craig C. Lesok on behalf of Creditor Jentex Financial, Inc.
craig@lesoklaw.com

Laurie A. Spindler on behalf of Creditor Tarrant County
Laurie.Spindler@lgbs.com, Dora.Casiano-Perez@lgbs.com;dallas.bankruptcy@lgbs.com

United States Trustee
ustpregion06.da.ecf@usdoj.gov

Lyndel Anne Vargas on behalf of Creditor B. Frazier Management, Inc.
LVargas@chfirm.com, chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.courtdrive.com
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